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                                          UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                           ORLANDO DIVISION

   NELLIE DARLENE ARRINGTON
   as Personal Representative for the Estate of
   Ella Suvilla Church, Deceased ,

                                              Plaintiff,

   -vs-                                                                         Case No. 6:09-cv-1300-Orl-31KRS

   WALGREEN CO.,

                            Defendant.
_____________________________________


                                                                 ORDER

          This case is before the Court on Defendant’s Motion for Summary Judgment (Doc. No. 30).

 The Plaintiff will be allowed until June 25, 2010, to file her responsive memorandum and any

 materials in opposition to the motion, including affidavits or other documents within the purview of

 Rule 56, showing that there are genuine issues of material fact in dispute; otherwise the Court may

 enter Summary Judgment, if appropriate, against the adverse party. Milburn v. United States, 734

 F.2d 762, 765 (11th Cir. 1984); see Griffith v. Wainwright, 772 F.2d 822, 825 (11th Cir. 1985)(per

 curiam); Fed. R. Civ. P. 56(e). Defendant may file a reply brief, not exceeding ten (10) pages, within

 14 days after the response is served. The parties are directed to provide chambers with a

 courtesy paper copy of any exhibits electronically filed in support of their papers.1

          DONE and ORDERED in Chambers in Orlando, Florida on May 26, 2010.


 Copies furnished to:

 Counsel of Record




      1
       The Court prefers any depositions to be provided in 4 page miniscript.
